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                    EXHIBIT
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


  JENNIFER VANDERSTOK; MICHAEL G.
  ANDREN;
  TACTICAL MACHINING, LLC, a limited
  liability company; and
  FIREARMS POLICY COALITION, INC., a
  nonprofit corporation, et al.,

  Plaintiffs and Intervenors
                                                          Civil Action No. 4:22-cv-691-O

  and

  Not An LLC d/b/a JSD SUPPLY,

  Applicant in Intervention,

  v.

  MERRICK GARLAND, in his official capacity as
  Attorney General of the United States; UNITED
  STATES DEPARTMENT OF JUSTICE; STEVEN
  DETTELBACH, in his
  official capacity as Director of the Bureau of
  Alcohol, Tobacco, Firearms and Explosives; and
  BUREAU OF ALCOHOL, TOBACCO,
  FIREARMS AND EXPLOSIVES,

  Defendants.


                             DECLARATION OF JORDAN VINROE

        I, Jordan Vinroe, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

following statements are true and correct to the best of my knowledge:

        1.      I am over 18 years of age, competent to testify, and have personal knowledge of

the matters stated herein.

        2.      I am the sole member and manager of Not An LLC, doing business as JSD
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Supply, a Pennsylvania limited liability company.

       3.       Although Not an LLC was incorporated in February 2021, JSD Supply has been

doing business since 2013, previously as a sole proprietorship. Its headquarters and physical

office are based in Prospect, Pennsylvania. Since its founding in August 2013, its sales have been

nationwide. JSD Supply conducts ongoing and systematic business throughout Texas, including

in the Northern District of Texas. In addition, Not an LLC employs a full-time, W-2 employee

who resides in Texas and works throughout the state, including in the Northern District of Texas.

JSD is a member of Firearms Policy Coalition, Inc.

       4.       JSD Supply’s historical business involved functioning as a producer and e-

commerce wholesaler and retailer of the very items at issue in this case, namely, 80% receivers

and finishing jigs. JSD Supply has sold products on a wholesale basis to Defense Distributed,

which is a party to this lawsuit. These items are commonly called “80% Lowers.” JSD also has

historically produced and sold tools and jigs that can be used by individuals to personally

manufacture firearm frames and receivers. Although JSD Supply’s customers use these products

to manufacture their own firearms, JSD Supply does not sell firearms. In fact, the Bureau of

Alcohol, Tobacco and Firearms (“ATF”) has provided JSD Supply, or the manufacturer of the

“80% Receiver,” an ATF classification letter for each “80% Receiver” that JSD Supply

historically sold, stating that the item is not a firearm. Under the ATF’s longstanding application

of the Gun Control Act of 1968 (“GCA”), evidenced and established through extensive

classification determinations issued to the industry over many decades, JSD Supply’s products

that it historically sold do not meet the GCA’s definition of a “frame or receiver” of a firearm.

Thus, historically, JSD Supply has lawfully wholesaled it products and sold them directly to

consumers, who can lawfully purchase its products through its website and ship products to those


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customers.

       5.        The products which JSD Supply historically marketed and sold do not meet the

statutory definition of a “frame or receiver.” Re-classifying those products as “frames or

receivers” by agency rulemaking ignores the plain text of the GCA and the federal government’s

historical application of the GCA. Given the uncertainty over the meaning and enforcement of

the Final Rule, JSD Supply must now weigh the prospect of being forced to abandon the entire

business model it has built up over the past 9.5 years, due to concerns that its continued operations

under its existing business model could subject it and its customers to criminal charges. Before

the Final Rule, if the GCA and the plain language of applicable federal regulations are adhered

to, JSD’s business did not subject JSD Supply or its customers to potential criminal liability or

enforcement by the ATF or the United States Department of Justice.

       6.        JSD Supply’s position in the marketplace was solidified by its U.S. patent for

one of the best-selling jigs and non-firearm receivers on the market for individuals to use in

personally manufacturing Sig Sauer P320-style receivers. These products were historically

marketed on JSD Supply’s website as the MUP-1 and MUP-1 Finishing Jig and retail as

standalone products for $69.99-99.99 and $129.99-149.99 and are depicted here:




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       7.        Considering the ensuing ATF Final Rule 2021-R-05F published in April 2022

(“Final Rule”), JSD Supply was forced to expend substantial time and resources to try to

understand the Final Rule and how the Final Rule would affect JSD Supply. The text of the Final

Rule is vague and confusing, and the public statements of President Biden and Attorney General

Garland together with the tactics of the ATF made it appear to me that the Government’s intent

in issuing the Final Rule is to improperly reclassify all products colloquially marketed as “80

Percent Lowers” as the legal equivalent of complete, functional, regulated “frames or receivers”

under federal law. Earlier in this case, the government asserted that there is no irreparable harm

because businesses such as JSD Supply can simply get a license and continue with business as

usual. I am already a fully licensed FFL, but my being an FFL does not permit JSD Supply to

operate or survive under the regulatory scheme of the Final Rule, as approximately 60% of JSD

Supply’s historical business was for the products described above that the Final Rule now seeks

to regulate as firearms.

       8.        In recent weeks, JSD Supply has learned that Defendants have made statements

(in court filings and hearings, but not in the text of the Final Rule) suggesting that the government

interprets the Final Rule to allow for the continued direct sale of those products marketed

colloquially as “80 Percent Lowers,” but seemingly limited to AR-style “80 Percent Lowers,” as


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long as they are sold by themselves, without jigs, tools, or instructions. This creates confusion

and great concern for JSD Supply and its customers, as it is unclear how a physical object that is

not classified as a “frame or receiver” when sold on its own could suddenly be transformed into

a “frame or receiver” merely because of its combination with tools, jigs, and/or instructions,

which are all unregulated materials and if sold together, or simply made available, could be

considered a criminal offense. Because this interpretation is not self-evident from the text of the

Final Rule, JSD Supply is unsure to what extent that interpretation is legally binding on the

government now and in the future.           JSD Supply is also unsure whether the following

combinations of items may be sold with an “80 Percent Lower” for an AR-style rifle without

turning it into a regulated “frame or receiver”: (1) a jig and instructions, but no tools; (2) a jig and

tools, but no instructions; (3) a jig, but no tools or instructions; (4) tools and instructions, but no

jig; or (5) tools, but no jig or instructions, as well as other combinations that may arise in the

future.

          9.     It is equally unclear what Defendants’ position is on so-called “80 Percent

Lowers” when it comes to handgun varieties, which ATF previously determined were not firearm

“frames or receivers.” JSD Supply has historically sold items colloquially marketed as “80

Percent Frames” that are based on designs previously determined by ATF not to be the frame of

a firearm, as well as jigs for individuals to use in the self-manufacture of handgun frames.

Defendants appear to be silent about the Final Rule’s application to the great majority of these

products.

          10.    Even though JSD Supply faced this regulatory uncertainty, to keep its business

alive, based on what it understood to be the government’s stated position and its newly expanded

interpretation of the GCA, JSD Supply ceased selling ALL 80% receivers and Jigs on August


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17/18, 2022 to give a clear break in when we stopped selling due to fear of the unclear “new rule”

regulations. We have not sold an 80% or jig since then. We have continued to sell other

replacement parts such as triggers, barrels, slides, pins and springs.

       11.      As of that date, all jigs, jig accessories and eighty percent lowers were listed out

of stock and later removed completely from the website to avoid any confusion of what was being

offered for sale. As a result, this has dramatically decreased our search engine optimization and

Google rankings, due to a large portion of our website being totally shut down. Our customers

are now fearful and confused, resulting in further dramatic and unsustainable declines in sales

across JSD Supply’s website. Not only have we significantly cut JSD Supply’s product offerings,

but customers are no longer purchasing many other products that are still available on JSD

Supply’s website. The graphs below show that website traffic has by and large remained the

same during the past month, but the percentage of customers willing to purchase items has

dropped precipitously:




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Typically, JSD Supply could count on 2-4% of customers who visit its website to purchase

something, a number considered healthy within the e-commerce industry.              Yet we have

experienced a 60% decrease in conversion since August 24, 2022.

       12.      The map below summarizes the percent of online sessions by region. As a leader

 in the marketplace, customers come from across the U.S. to browse JSD Supply’s website. The

 “heat map” of visitors from across the country shows that Texas is the 3rd highest contributor of

 traffic to our website at over 8% of all sessions.




       13.      Since mid-August, the situation has only gotten worse. Customers are hesitant

to purchase from us since the Final Rule has gone into effect and are unsure if they are legally

allowed to complete and build their own firearms.        Customers are unable to source jigs,


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specifically our patent-protected jigs in order to convert their 80% receivers, so they are

abandoning doing business with us entirely. Despite the significant time and financial resources

invested in creating specialized jigs and 80% products, we are unable to sell the products that

established us as a leader in the industry.

       14.       Despite JSD Supply’s efforts to keep the business afloat, revenue has plummeted

since the Final Rule took effect on August 24, 2022. Compared to our average daily revenue in

2022 prior to the Final Rule’s effective date, our average daily revenue since the Final Rule took

effect has dropped by more than 60%.

       15.       Based on our interactions with prior and potential customers, it is clear that many

people believe, in the wake of the uncertainty created by the Final Rule, that all of JSD Supply’s

“80 Percent Lowers” previously sold direct to consumers without serial numbers are banned by

the Final Rule, and that purchasing completion components for those “80 Percent Lowers” could

potentially subject JSD Supply and these individuals to criminal liability. Without assurances for

customers that they are not illegally purchasing a “firearm” when they buy an “80 Percent

Lower”, with or without a jig or instructions, we will remain unable to continue selling our

historical products and our sales in this segment will not recover. Below are some examples of

the sorts of comments we have received from JSD Supply’s existing and prospective customers:

       •   12/15/22 – “Hello. I have a couple questions. Was you going to make more of the 320
           mup1? And the 365 one? Been wanting that one since first announced.”

       •   12/7/22 – “I know the laws are like a rollercoaster anymore and I expect not long
           before the ‘80%’ ban happens again and actually sticks. Unfortunately.    Are you
           guys planning to sell the mup-1 unfinished again soon or is this likely to not be
           available again? I would be interested in buying. Thanks!”

       •   11/29/22 – “Was curious about the MUP-1’s...are they ever coming back into stock?
           Would love some more information on them if you have any that can be shared.
           Thanks!”


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       •   11/18/22 – “Hello! I noticed a lot of your 80% components and tooling have been
           removed from the website. Is there any chance that you’ll be selling MUP-1s anytime
           soon? I’ve been waiting for them to come back for a while.”

       •   9/20/22 – “Hello, I was wondering if you plan to sell MUP-1 parts for p320 builds
           ever again? I’m trying to figure out where to get one and would really like to do a
           build.”

       •   9/12/22 – “Being that you can still sell 80% receivers, are there still plans to finalize
           the Sig 247 MUP???”

       •   8/16/22 – “So are 80% lowers completely banned now or is it just those specific states?
           I’m getting both answers right now online so I’m unsure who’s right.”

        16.      JSD Supply’s inability to sell its unique, patented jig is also severely damaging

to JSD Supply’s business. The JSD Supply’s MUP-1 Finishing Jig is one of JSD Supply’s most

demanded products and attracts a significant number of customers to JSD Supply’s website.

Historically, the availability of that jig on JSD Supply’s website is essential to its ability to attract

and make sales to new customers. JSD Supply’s jig and the “80% Lowers” that we traditionally

sold are complementary goods that are used together, each creating a demand for the other. The

inability to sell the jig drastically reduces sales overall including for other ancillary products and

accessories.

        17.      Due to the Final Rule, vendors across our supply chain have begun to refuse to

work with us.      This includes payment processors, metal treatment businesses, and other

distributors. E-commerce companies have also begun to suggest they may no longer be able to

serve our business without additional clarity that what we are doing is legal.

        18.      Like any small business, JSD Supply has fixed operating costs, the most notable

of which is compensation for employees and costs for its physical office in Prospect,

Pennsylvania. In the wake of the Final Rule’s catastrophic effects on JSD Supply’s business, we



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have suspended plans to hire additional employees. JSD Supply is doing its best to retain as many

JSD Supply employees as possible while awaiting clarity from Defendants, or the courts, on

whether the Final Rule is lawful.

       19.       JSD Supply maintains cash reserves for warranties, refunds, and replacements.

 If JSD Supply is unable to ship products such as jigs and jig accessories, and continues to be

 unable to make a profit, we will be forced to shut down this segment of our business. Though

 JSD Supply does have enough cash on hand to continue paying our expenses for a few months,

 we will be forced to shut down this segment of our business and cease operations if this trend

 continues for much longer. Unless we are given a chance to recover and stabilize our revenues,

 we will be forced to lay off the majority of our staff. In the absence of a nationwide preliminary

 injunction or other injunctive relief that provides sufficient certainty to enable us to fully transact

 business with our customers and vendors across the U.S., JSD Supply may not be able to stay

 in business long enough to receive a final judgment from this Court, not including any additional

 time needed for appellate review.


Dated this 3rd day of January 2023:




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